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                                                            PAID                             ~- ~~E~
    Tyesha Jackson Wise
                                                        APR
   4001 Don Tomaso Drive #2                                                       20!8 ~F~ 15 Ahi 9~ 3
 2                                                    c~~k, U5 District Court
    Los Angeles, CA 90008                                 COURT 4612
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 3 (323)306-4965                                                                    . !~ .       i. ~' i;~.~
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                                            UNITES STATES DISTRICT COURT
 6
                                       CENTRAL DISTRICT OF CALIFORNIA
 7
       TYESHA JACKSON WISE,                                  Case No.:
 8
                        Plaintiff,
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       vs.                                                   COMPLAINT AND DEMAND FOR
i[~;
                                                             JURY TRIAL
       BMW FINANCIAL SERVICES NA,LLC,
                                                           (UNLAWFUL DEBT COLLECTION
12                      Defendant                           PRACTICES)
13
                                                 VERIFIED COMPLAINT
14
               TYESHA JACKSON WISE ("Plaintiff"), alleges the following against BMW
15
16
       FINANCIAL SERVICES NA,LLC,("Defendant"):

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18
                                                  INTRODUCTION
19
               1. Count I of the Plaintiffs' Complaint is based on Rosenthal Fair Debt Collection
20
                   Practices Act, Cal Civ. Code X1788 et seq.(RFDCPA).
21

22
              2. Count II of the Plaintiffs' Complaint is based on the Telephone Consumer Protection

23                 Act, 47 U.S.C. 227 et seq. (TCPA).

24
                                             JURISDICTION AND VENUE
25
              3. Jurisdiction of this court arises pursuant to 1S U.S.C. 1692k(d), which states that such
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                   actions may be brought and heard before "any appropriate United States district court
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                                                 VERIFIED COMPLAINT
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 1            without regard to the amount in controversy," and 28 U.S.C. 1367 grants this court
 2
              supplemental jurisdiction over the state claims contained therein. Jurisdiction of this
 3
             court arises pursuant to 28 U.S.C. ~ 1331.
 4
          4. Defendant conducts business in the state of California, and therefore, personal

             jurisdiction is established.

          5. Venue is proper pursuant to 28 U.S.C. 1391 (b)(2).

                                                PARTIES

          6. Plaintiff is a natural person residing in Los Angeles, Los Angeles County, California.

          7. Defendant is a debt collector as that term is defined by IS U.S.C.1692a(6) and Cal.

             Civ. Code ,~1788.2(c).

          8. Defendant is a company located in Woodcliff Lake, New Jersey.

          9. Defendant acted through its agents, employees, officers, members, directors, heirs,

             successors, assigns, principals, trustees, sureties, subrogees, representatives, and

             insurers.

                                       FACTUAL ALLEGATIONS

          10. Between January 2017 and Apri12018, Defendant began placing telephone calls to

             Plaintiff s cell phone.

          1 1. Upon information and belief, Defendant is placing calls to Plaintiff's cell phone in an

             attempt to collect a debt allegedly owed by Tyesha Jackson Wise ("Plaintiff").

          12. On March 15, 2017, Defendant called Plaintiff's cellular telephone three times, using

             artificial and/or prerecorded voice technology to coerce payment of alleged debt, witl

             the intent to annoy, abuse or harass Plaintiff. Plaintiff asked Defendant to stop callin€
27
                                                     -2-
28                                          VERIFIED COMPLAINT
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       and remove her telephone number. Plaintiff asked BMW FINANCIAL SERVICES

       NA, LLC representative, Sauna Hudson, to stop calling and advised her of the TCPA

       and RFDCPA violations. Plaintiff faxed a letter to Defendant again informing

       Defendant to stop calling Plaintiff's cell phone in attempts to collect a consumer debt.

    13. Despite the aforementioned notice, Defendant continued to place telephone calls,

       sometimes as early as 6:33a.m., using an automated dialer, to Plaintiff regarding an

       alleged debt.


                           COUNTI
    DEFENDANT VIOLATED THE ROSENTHAL FAIR DEBT COLLECTION
                        PRACTICES ACT

    14. Defendant violated the RFDCPA based on the following:

                 a. Violation of ~¢1788.11(d) of the RFDCPA by causing Plaintiffs' telephone

                    to ring repeatedly and continuously so as to annoy and harass Plaintiff.

                 b. Violation of ~1788.11(e) of the RFDCPA by placing collection calls to

                    Plaintiff with such frequency that was unreasonable and constituted

                    harassment.

                 c. Violation of the ,y~1788.17 of the RFDCPA by continuously failing to

                    comply with the statutory regulations contained with the FDCPA,1S

                    U.S.C. ~ 1692 et seq.

           WHEREFORE, Plaintiff TYESHA JACKSON WISE respectfully req

    judgment be entered against Defendant BMW FINANCIAL SERVICES NA,LLC,for

    following:


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                                   VERIFIED COMPLAINT
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         15. Statutory damages of $1,000.00 pursuant to the Rosenthal Fair Debt

            Practices Act, Cal. Civ. Code ~1788.30(b),
3
         16. Costs pursuant to the Rosenthal Fair Debt Collection Practices Act, Cal. Civ. C.
4
             ~¢1788.30(c), and
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6        17. Any other relief that this Honorable Court deems appropriate.

7                              COUNT II
      DEFENDANT VIOLATED THE TELEPHONE CONSUMER PROTECTION ACT
8

9        18. Plaintiff repeats and realleges all of the allegations in Count I of Plaintiff's C

10           as the allegations in Count II of Plaintiffs Complaint.

         19. Defendant initiated at least sixty (60)telephone calls to Plaintiff's telephone line, in
iL
             which Defendant used, controlled and or operated "automatic telephone dialing
13
             systems" as defined by § 227(a)(1) of the TCPA.
14

15       20. Defendant initiated at least fifty five (55)telephone calls to Plaintiff's cellular

16           telephone, after consent had been revoked, in violation of §227(b)(1)(A)(iii).
17
                 WHEREFORE,Plaintiff TYESHA JACKSON WISE respectfully request
18
                judgment be entered
19
         against Defendant BMW FINANCIAL SERVICES NA,LLC for the following:
20

2~       21. Statutory damages of $84,000.00($1500 per call), pursuant to the Telephone

22           Consumer Protection Act, 47 U.S.C. 227b(3)(B).
23
         22. Costs pursuant to the Telephone Consumer Protection Act, 47 U.S.C. 227b(3)(B).
24
         23. Any other relief that this Honorable Court deems appropriate.
25
                                   DEMAND FOR JURY TRIAL
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                                         VERIF[ED COMPLAINT
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     PLEASE TAKE NOTICE that Plaintiff TYESHA JACKSON WISE, demands a jury trial in this

     case.
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12                                                           RESPECTFULLY SUB

13           DATED: April 16, 2018
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15
                                                       By:             . ~,,.,`            .~
16                                                                 T  SH JA 'KSON
17
                                                                                          PRO S:
                                                       4001 DON TOMASO DRIVE, APT.
l8                                                              LOS ANGELES,CA 9000
                                                                            T:(323) 306-496
19                                                         Email: 1'jacl:5oalt~ isi:~r.icloucl,.uc~~
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                                     VERIFIED COMPLAINT
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 3
                    VERIFICATION OF COMPLAINT AND CERTIFICATION

     STATE OF CALIFORNIA
 s
 6          Plaintiff TYESHA JACKSON WISE states as follows:

 7      1. I am the Plaintiff in this civil proceeding.
        2. I have prepared the above entitled civil Complaint and I believe that all ofthe facts
 8
           contained in it are true, to the best of my knowledge.
 9      3. I believe that this civil Complaint is well grounded in fact and warranted by existing law
           or by a good faith argument for the extension, modification or reversal of existing law.
~o      4. I believe that this civil Complaint is not interposed for any improper purpose, such as to
           harass any Defendant(s), cause unnecessary delay to any Defendant(s), named in the
11
           Complaint.
12      5. I have filed this Complaint in good faith and solely for the purposes set forth in it.

13           Pursuant to 28 U.S.C. § 1746(2), I, TYESHA JACKSON WISE, hereby declare (or
     certify, verify or sta e)under penalty of perjury that the foregoin is true and correct.
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~5   DATE:     ~-~~~ ~s
                                                                T    S AJ      KSON W
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~g                                        VERIFIED COMPLAINT
